
The People of the State of New York, Respondent, 
againstMargarito Villa-Ruiz, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Kate Paek, J.), rendered February 7, 2018, after a nonjury trial, convicting him of sexual abuse in the third degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Kate Paek, J.), rendered February 7, 2018, affirmed. 
The verdict convicting defendant of sexual abuse in the third degree (see Penal Law § 130.55) was supported by legally sufficient evidence and was not against the weight of the evidence (see People v Danielson, 9 NY3d 342 [2007]). There is no basis for disturbing the court's determination concerning credibility. The credited testimony of the victim, as corroborated by a plain-clothes police officer who witnessed the incident, established that defendant positioned himself directly behind the victim, a stranger to him, on a subway train, placed his hand under the victim's dress, and touched her buttocks and inner thighs until she moved away from him. Defendant then followed the victim and touched her again in the same manner. The trial court could rationally infer that defendant engaged in "sexual contact" when he touched the victim in the manner described and that such touching was "for the purpose of gratifying [defendant's] sexual desire" (Penal Law § 130.00[3]; see People v Williams, 94 AD3d 1555 [2012]; see also People v Bookard, 167 AD3d 424 [2018], lv denied __ NY3d ___, 2019 NY Slip Op 97029[U] [2019]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: March 18, 2019










